         Case 1:19-cr-00490-RMB Document 23 Filed 07/16/19 Page 1 of 3
                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     July 16, 2019

VIA ECF                                              REQUEST TO FILE PARTIALLY
                                                     UNDER SEAL
The Honorable Richard M. Berman
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)

Dear Judge Berman:

       The Government respectfully submits this letter to provide the Court with additional
information in response to the Court’s questions at the detention hearing held on July 15, 2019
(the “Detention Hearing”).

I. Payments to Potential Witnesses1

        In a July 12, 2019 letter, the Government informed the Court that the Government had
recently obtained records from a financial institution (“Institution-1”) that appeared to show the
defendant had made suspicious payments shortly after the Miami Herald began publishing, on
approximately November 28, 2018, a series of articles relating to the defendant, his alleged sexual
misconduct, and the circumstances under which he entered into a non-prosecution agreement
(“NPA”) with the U.S. Attorney’s Office for the Southern District of Florida in 2007. The same
series highlighted the involvement of several of Epstein’s former employees and associates in the
alleged sexual abuse. At the Detention Hearing, the Court asked the Government to provide
additional information about the individuals to whom these payments appear to have been made.

        First, records from Institution-1 show that on or about November 30, 2018, or two days
after the series in the Miami Herald began, the defendant wired $100,000 from a trust account he
controlled to                                                           , an individual named as
a potential co-conspirator—and for whom Epstein obtained protection in—the NPA. This
individual was also named and featured prominently in the Herald series.

        Second, the same records show that just three days later, on or about December 3, 2018,
the defendant wired $250,000 from the same trust account to                          , who was

1
  For the reasons set forth at the Detention Hearing, and with the consent of the Court, the
Government is redacting the identities of these individuals in the publicly filed version of this
letter.
            Case 1:19-cr-00490-RMB Document 23 Filed 07/16/19 Page 2 of 3

    Hon. Richard M. Berman
    United States District Judge
    July 16, 2019
    Page 2

also named as a potential co-conspirator—and for whom Epstein also obtained protection in—the
NPA. This individual is also one of the employees identified in the Indictment, which alleges that
she and two other identified employees facilitated the defendant’s trafficking of minors by, among
other things, contacting victims and scheduling their sexual encounters with the defendant at his
residences in Manhattan and Palm Beach, Florida. This individual was also named and featured
prominently in the Herald series.

II. Police Report

        During the Detention Hearing, the parties referenced a redacted copy of a Palm Beach
police report, which was annexed to the Government’s July 12, 2019 detention memorandum. At
the Court’s request, the Government has provided a supplemental copy of the police report
previously filed, with information referred to in open court unredacted. The updated copy of the
police report is attached as Exhibit A.

III. Foreign Passport

        During the Detention Hearing, the Government informed the Court that it had recently
learned that law enforcement agents had seized what appears to be an expired foreign passport (the
“Foreign Passport”) from a safe in the defendant’s Manhattan residence during the execution of a
search warrant on or about July 6, 2019. The Foreign Passport has a photograph that appears to
depict the defendant, but lists a different name. Photographs of that passport are annexed hereto
as Exhibit B. In the same safe, agents discovered what appears to be an expired United States
passport issued to the defendant, in his true name, within three years of the date on the Foreign
Passport. A photograph of that United States passport is annexed hereto as Exhibit C, so that the
Court may compare the passports, both of which appear to depict the defendant. Because Exhibits
B and C contain personally identifiable information and sensitive information relevant to the
ongoing investigation, the Government respectfully requests that Exhibits B and C be filed under
seal.

        The Government is attempting to obtain additional information about the Foreign Passport,
including how it was obtained and whether the passport is genuine or fabricated. But the
defendant’s possession of what purports to be a foreign passport issued under an alias gives rise to
the inference the defendant knows how to obtain false travel documents and/or assume other,
foreign identities. This adds to the serious risk of flight posed by the defendant.2




2
 The Government has asked defense counsel to advise whether the defendant is currently, or has
been in the past, a citizen or legal permanent resident of a country other than the United States. To
date, defense counsel has declined to respond. Certainly if the defendant is, or has been, a citizen
or permanent resident of another country, that would add significantly to the overwhelming
evidence of risk of flight.
          Case 1:19-cr-00490-RMB Document 23 Filed 07/16/19 Page 3 of 3

 Hon. Richard M. Berman
 United States District Judge
 July 16, 2019
 Page 3

IV. Cash and Diamonds

        At the Detention Hearing, the Government informed the Court that diamonds and cash
were seized from a safe in the defendant’s Manhattan residence. The Court inquired as to the value
of these items. After conferring with law enforcement agents who have reviewed the materials
from the safe, the Government has learned that the safe contained more than $70,000 in cash. In
addition, the safe contained 48 loose diamond stones, ranging in size from approximately 1 carat
to 2.38 carats, as well as a large diamond ring. The Government is currently unaware of whether
the defendant maintains similar stashes of cash and/or jewels at his multiple properties, or in other
locations. Such ready cash and loose diamonds are consistent with the capability to leave the
jurisdiction at a moment’s notice.

V. Conclusion

        For the reasons set forth herein, in the Government’s July 8, 2019 and July 12, 2019
detention memoranda, and on the record at the Detention Hearing, the Court should order that the
defendant be detained pending trial. The defendant cannot meet his burden of overcoming the
presumption that there is no combination of conditions that would reasonably assure his continued
appearance in this case or protect the safety of the community were he to be released.

                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney


                                              By:       /s
                                                    Alison Moe / Alex Rossmiller / Maurene Comey
                                                    Assistant United States Attorneys
                                                    Southern District of New York
                                                    Tel: (212) 637-2225 / 2415 / 2324


Cc:    Martin Weinberg, Esq., and Reid Weingarten, Esq., counsel for defendant
